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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                         )
                                                 )
                         Plaintiffs,             )
         v.                                      )         No. 1:23-cv-00108-LMB-JFA
                                                 )
  GOOGLE LLC,                                    )
                                                 )
                         Defendant.              )

                      SUPPLEMENT TO PLAINTIFFS’ OPPOSITION TO
                          MOTION FOR SUMMARY JUDGMENT
                           TO CORRECT CERTAIN EXHIBITS

         Plaintiffs make the following corrections to exhibits in their Opposition to Defendant’s

  Motion for Summary Judgment. There are three corrections to the exhibits referenced in the

  Opposition.

         1. Plaintiffs’ Exhibit (“PX”) 3 was inadvertently omitted from the filing. It is being

              submitted under seal in a separate filing.

         2. Exhibit PX 8 omitted certain excerpts cited in Plaintiffs’ opposition. A corrected,

              redacted version of Exhibit PX 8 is attached, and an unredacted version is being

              submitted under seal in a separate filing.

         3. PX 84 and PX 173 are withdrawn in their entirety, for the purposes of Plaintiffs’

              Opposition to Google’s Motion for Summary Judgment.
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  Dated: May 21, 2024

  Respectfully submitted,

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